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From: Elizabeth Holmes [cholmes@theranos.com]
Sent: Tuesday, March 1, 2016 1L19 PM

To: xboics@EEEE iley> CREE jimmattis@
Susan. Schendel@ EEE iis groughead@
cai wjperry@ME, «Katherine Matthews

CC: Sunny Balwani; Heather King; Bill Foese @ TT

Subject: FW: Friday meeting
Attachments: Theranos review notes.docx

  
 
    

 

 

FYI from Bill, who we were privileged to have there for the review session last Friday.

Elizabeth

From: Bill Foege (Independent Contractor) [mailto:Bill Foege @ fn

Sent: Tuesday, March 01, 2016 6:28 AM
To: Elizabeth Holmes <eholmes@theranos.com>
Subject: Friday meeting

Elizabeth, | appreciate the report David has done. Here are the notes | made of the meeting. If they are
accurate and you want to share them with Board members, feel free to do that. | didn’t want to do that
on my own, but thought it might give them confidence that the science is being questioned, examined,
and reaffirmed..

| thought it was a great day!! Thanks, Bill

 

 

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Theranos notes

Feb. 26, 2016

The meeting provided an opportunity for Elizabeth to explain the Theranos
program to outside scientists with an interest and expertise in the clinical lab
testing field. The group included Dr. David Helfet, Director of Orthopedic
Trauma surgery at Cornell, Dr. Stanley Hamilton, Head of the Division of
Pathology and Laboratory Medicine at MD Anderson Cancer Center, Dr.
Steven Spitalnik, head of laboratory services at Columbia University, and Dr.
Andy Miller, Infectious Disease specialist at Cornell. Dr. Thomas Kickler,
Director of Hematology and Coagulation labs at Johns Hopkins was on by
WebEx. Some expressed their skepticism of the Theranos approach, at the
beginning of the meeting, and most seemed to have detailed information on
the newspaper reports of Theranos.

Elizabeth reviewed the studies on the nanotainer, what is known about
capillary versus venous determinations, the analytic methods used and their
results, representative studies comparing different items measured by both
approaches etc. She took many questions and there was a robust discussion of
the procedures, test results and the meaning of those results. Elizabeth made
the point that Theranos is not a finger stick company but rather a small
sample company. Many of the 300 plus tests involve samples other than
blood.

By means of slides and video she showed the equipment and how it worked
and later the group inspected the actual machines and some had finger-stick
tests done.

The attitude of the group changed perceptibly during the day. Soon they said
they had seen enough of the analytical methods and capillary versus venous
results so that we could go to other things. They were amazed at the closeness
of fit for results from capillary versus venous sources.

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Soon the tenor of the conversation turned towards what more they would like
to see (whole system models rather than what can be done with each test), how
and where to convey the results and what they could do to be helpful. I spent
time in the car with Steven Spitalnik before and after the meeting and the
contrast was significant. From a true skeptic to excitement over this being a
possible game changing approach.

The conclusions I drew from the meeting included:

1. The amazing detail of the presentations, the high quality of the studies
and the assays. The professionalism and quality of the staff and the fact
that the Theranos team has identified and perfected so many parts of
the program over the years. These were basically academics
accustomed to working in an academic environment and they clearly
had great respect for the Theranos staff.

2. They suggested an important consideration that would not have entered
my thinking. Usually with science, a finding is not accepted until
confirmed by an independent group. That is part of the protection in
science. It becomes self-correcting. Theranos is developing protocols
that hopefully aren’t copied soon by others. They suggest the equivalent
of a “chain of custody” approach where an independent person or
persons verifies each step. This could be similar to a notarized system
where the person does not have to have access to the proprietary aspects
but verifies the steps that were taken.

3. The group felt that publication was essential. The papers would
indicate what was done but would not contain proprietary information.
Again they made a suggestion that I would not have entertained but
became convinced was useful. I would have approached this with a
paper in the New England Journal or JAMA, plus an article in Science.
They suggested publishing in Clinical Chemistry. This is not a journal I
read but they said the people that need to be convinced are the
laboratory directors and they all read that journal. It is likely that
publication could be facilitated within months. That would be a good
start with other publications in other journals to follow.

4. They suggested ignoring the newspaper response entirely. Let the
science community handle the disputes. And they suggested articles on

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what the full menu would look like. What needs to be done to change
the system?
5. They confirmed the most important targets as pediatric medicine,
cancer care and situations where repeat blood samples are required.
6. The group suggested some areas for consideration, such as routine
samples in surgical situations.

It is clear what can happen in a small group presentation to change minds and
attitudes. But it is a retail approach and the wholesale approach now involves
publications, presentations at meetings and the incorporation of more
laboratory leaders into providing advice, which in turn requires that they
become familiar with what Theranos is doing.

Bill Foege 2/28/2016

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